   Case: 2:17-cr-00088-JLG Doc #: 46 Filed: 10/19/17 Page: 1 of 3 PAGEID #: 117



                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION

UNITED STATES OF AMERICA

     vs.                                    Criminal Action 2:17-cr-0088(2)
                                            JUDGE JAMES L. GRAHAM
CITLALY CASILLAS

                          REPORT AND RECOMMENDATION


     Defendant Citlaly Casillas is charged by Indictment with three
(3) counts of violating federal law. The United States of America and
Defendant entered into a plea agreement whereby Defendant agreed to
enter a plea of guilty to Count 2 of the Indictment, which charges her
with conspiracy to commit kidnapping in violation of 18 U.S.C. § 371.1
On October 19, 2017, Defendant, accompanied by her counsel, appeared
for a change of plea proceeding.       Defendant consented, pursuant to 28
U.S.C. §636(b)(3), to enter a guilty plea before a Magistrate Judge.
See United States v. Cukaj, 2001 WL 1587410 at *1 (6th Cir. 2001)
[Magistrate Judge may accept a guilty plea with the express consent of
the defendant and where no objection to the report and recommendation
is filed]; United States v. Torres, 258 F.3d 791, 796 (8th Cir. 2001);
United States v. Dees, 125 F.3d 261, 263-69 (5th Cir. 1997); United
States v. Ciapponi, 77 F.3d 1247, 1251 (10th Cir. 1996).
     During the plea proceeding, the undersigned observed the
appearance and responsiveness of Defendant in answering questions.
Based on that observation, the undersigned is satisfied that, at the
time she entered her guilty plea, Defendant was in full possession of
her faculties, was not suffering from any apparent physical or mental
illness, and was not under the influence of narcotics or alcohol.
     Prior to accepting Defendant’s plea, the undersigned addressed
Defendant personally and in open court and determined her competence

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       The Plea Agreement, Doc. 37, also contains an appellate waiver
provision.
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  Case: 2:17-cr-00088-JLG Doc #: 46 Filed: 10/19/17 Page: 2 of 3 PAGEID #: 118



to plead.     Based on the observations of the undersigned, Defendant
understands the nature and meaning of the charges returned in the
Indictment and the consequences of the plea to Count 2 of the
Indictment.     Defendant was also addressed personally and in open court
and advised of each of the rights referred to in Rule 11 of the
Federal Rules of Criminal Procedure.
        Having engaged in the colloquy required by Rule 11, the Court
concludes that Defendant’s plea is voluntary.        Defendant acknowledged
that the plea agreement signed by her, her attorney and the attorney
for the United States and filed on September 25, 2017, represents the
only promises made by anyone regarding the charges in the Indictment.
Defendant was advised that the District Judge may accept or reject the
plea agreement and that, even if the Court refuses to accept any
provision of the plea agreement not binding on the Court, Defendant
may nevertheless not withdraw her guilty plea.
        Defendant confirmed the accuracy of the material aspects of the
statement of facts supporting the charge, which is attached to the
Plea Agreement.     She confirmed that she is pleading guilty to Count 2
of the Indictment because she is in fact guilty of the offense charged
in Count 2 of the Indictment.     The Court concludes that there is a
factual basis for the plea.
        The Court concludes that Defendant’s plea of guilty to Count 2 of
the Indictment is knowingly and voluntarily made with understanding of
the nature and meaning of the charge and of the consequences of the
plea.
        It is therefore RECOMMENDED that Defendant’s guilty plea to Count
2 of the Indictment be accepted.      Decision on acceptance or rejection
of the plea agreement was deferred for consideration by the District
Judge after the preparation of a presentence investigation report.
        In accordance with S.D. Ohio Crim. R. 32.1, and as expressly
agreed to by Defendant through counsel, a written presentence
investigation report will be prepared by the United States Probation
Office.     Defendant will be asked to provide information; Defendant’s
  Case: 2:17-cr-00088-JLG Doc #: 46 Filed: 10/19/17 Page: 3 of 3 PAGEID #: 119



attorney may be present if she wishes.       Objections to the presentence
report must be made in accordance with the rules of this Court.
     If any party seeks review by the District Judge of this Report
and Recommendation, that party may, within fourteen (14) days, file
and serve on all parties objections to the Report and Recommendation,
specifically designating this Report and Recommendation, and the part
thereof in question, as well as the basis for objection thereto.           28
U.S.C. §636(b)(1); F.R. Civ. P. 72(b).       Response to objections must be
filed within fourteen (14) days after being served with a copy
thereof.   F.R. Civ. P. 72(b).
     The parties are specifically advised that failure to object to
the Report and Recommendation will result in a waiver of the right to
de novo review by the District Judge and of the right to appeal the
decision of the District Court adopting the Report and Recommendation.
See Thomas v. Arn, 474 U.S. 140 (1985); Smith v. Detroit Federation of
Teachers, Local 231 etc., 829 F.2d 1370 (6th Cir. 1987); United States
v. Walters,   638 F.2d 947 (6th Cir. 1981).




October 19, 2017                                s/ Norah McCann King
 Date                                            Norah McCann King
                                           United States Magistrate Judge




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